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 4
     Attorney for Defendant
 5   JUAN MORALES
 6

 7                                IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            Case No.: CR. S-07‐0314 FCD
11                  Plaintiff,
12          vs.
                                                          STIPULATION AND ORDER
13   TERESA MARIA MORALES, ENRIQUE
14
     MORALES, JOSE LUIS MORALES, JUAN
     MORALES, and PETRA PRECIADO MORALES,
15
                    Defendants.
16

17                                           STIPULATION
18          This matter is scheduled for Trial Confirmation Hearing on January 18, 2011 and Jury
19   Trial on February 15, 2011 in the courtroom of the Honorable Frank C. Damrell, Jr. I have
20   contacted counsel for all defendants, and counsel for the United States, AUSA Matthew C.
21   Stegman, and they have all agreed, subject to the court’s approval, to continue the Jury Trial to
22   May 3, 2011 and the status conference to April 12, 2011 matter at 9:00 a.m.
23          At the time this matter was originally set, I was in a death penalty trial in the Superior
24   Court in Sacramento. At that time, I had already been pre-assigned to a Jury Trial in a three-
25   defendant gang homicide case for February 8, 2011 in front of the Honorable Michael Savage.
26   Counsel in that case estimate that case would be concluded by late April, 2011.
27          All parties hereby agree and stipulate to a continuance of the Jury Trial to May 3, 2011
28   and the Trial Confirmation Hearing to April 12, 2011. in the courtroom of the Honorable Frank C.




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 1   Damrell, Jr. They further stipulate to the exclusion of time through that date pursuant to Local
 2   Code T-2, as the matter is complex, and Local Code T-4, as the above continuance is
 3   necessary for preparation of counsel.
 4
     DATED:      10-26-10      _____               /s/ C. Emmett Mahle
 5                                                C. EMMETT MAHLE
                                                  Attorney for Defendant
 6                                                JUAN MORALES
 7   DATED:      10-26-10      _____               /s/ Timothy E. Warriner
                                                  TIMOTHY E. WARRINER
 8                                                Attorney for Defendant
                                                  TERESA MARIA MORALES
 9
     DATED:      10-26-10      _____               /s/ Bruce Locke
10                                                BRUCE LOCKE
                                                  Attorney for Defendant
11                                                 ENRIQUE MORALES
12   DATED:      10-26-10      _____               /s/ Miguel Angel Hernandez
                                                  MIGUEL ANGEL HERNANDEZ
13                                                Attorney for Defendant
                                                  JOSE LUIS MORALES
14
     DATED:      10-26-10      _____               /s/ Donald P. Dorfman
15                                                DONALD P. DORFMAN
                                                  Attorney for Defendant
16                                                PETRA PRECIADO MORALES
17   DATED:      10-26-10      _____               /s/ Matthew C. Stegman
                                                  MATTHEW C. STEGMAN
18                                                Assistant U.S. Attorney
19
                                                  ORDER
20

21                  GOOD CAUSE APPEARING, and by stipulation of all counsel, the Jury Trial that
22   is scheduled for February 15, 2011 be continued to Tuesday, May 3, 2011, at 9:00 a.m., and
23   the Trial Confirmation Hearing scheduled for January 18, 2011 be continued to Monday, April
24   11, 2011 at 10:00 a.m., in the courtroom of the Honorable Frank C. Damrell, Jr. Time is
25   excluded through that date pursuant to Local Codes T-2, due to complexity, and T-4 for
26   preparation of counsel.
27

28   DATED: October 27, 2010
                                                   _______________________________________
                                                   FRANK C. DAMRELL, JR.
                                                   UNITED STATES DISTRICT JUDGE

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